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    In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                           No. 17-1529V
                                        (not to be published)


    RYAN THOMPSON,
                                                                Chief Special Master Corcoran
                         Petitioner,
    v.                                                          Filed: April 28, 2020


    SECRETARY OF HEALTH AND                                     Special Processing Unit                 (SPU);
    HUMAN SERVICES,                                             Attorney’s Fees and Costs


                         Respondent.


Jessica Anne Olins, Maglio Christopher & Toale, PA, Seattle, WA, for Petitioner.

Camille Michelle Collett, U.S. Department of Justice, Washington, DC, for Respondent.

                       DECISION ON ATTORNEY’S FEES AND COSTS 1

       On October 16, 2017, Ryan Thompson, (“Petitioner”) filed a petition for
compensation under the National Vaccine Injury Compensation Program, 42 U.S.C.
§300aa-10, et seq., 2 (the “Vaccine Act”). Petitioner alleges that he suffered a shoulder
injury related to vaccine administration as a result of the influenza (“flu”) vaccine
administered on October 6, 2016. (Petition at 1). On March 5, 2020, a decision was issued
awarding compensation to Petitioner based on the Respondent’s proffer. (ECF No. 63).



1  Because this unpublished Decision contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the Decision will be available to anyone with access to the
internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact
medical or other information, the disclosure of which would constitute an unwarranted invasion of privacy.
If, upon review, I agree that the identified material fits within this definition, I will redact such material from
public access.

2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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        Petitioner has now filed a motion for attorney’s fees and costs, dated April 8, 2020,
(ECF No. 67), requesting a total award of $22,963.90 (representing $22,333.50 in fees
and $630.40 in costs). In accordance with General Order #9, Petitioner filed a signed
statement indicating she incurred no out-of-pocket expenses. (ECF No. 67-3).
Respondent reacted to the motion on April 15, 2020 indicating that she is satisfied that
the statutory requirements for an award of attorney’s fees and costs are met in this case
and defers to the Court’s discretion to determine the amount to be awarded. (ECF No.
68). On April 15, 2020, Petitioner filed a reply requesting that the Court award Petitioner
all fees and costs requested in Petitioner’s Application. (ECF No. 69).

       I have reviewed the billing records submitted with Petitioner’s request. In my
experience, the request appears reasonable, and I find no cause to reduce the requested
hours or rates.

       The Vaccine Act permits an award of reasonable attorney’s fees and costs. §
15(e). Accordingly, I hereby GRANT Petitioner’s Motion for attorney’s fees and costs. I
award a total of $22,963.90 (representing $22,333.50 in fees and $630.40 in costs) as a
lump sum in the form of a check jointly payable to Petitioner and Petitioner’s counsel. 3 In
the absence of a timely-filed motion for review (see Appendix B to the Rules of the Court),
the Clerk shall enter judgment in accordance with this decision. 4

IT IS SO ORDERED.

                                                        s/Brian H. Corcoran
                                                        Brian H. Corcoran
                                                        Chief Special Master




3Petitioner requests check be forwarded to Maglio, Christopher & Toale, PA, 1605 Main Street, Suite 710,
Sarasota, Florida 34236.
4 Pursuant to Vaccine Rule 11(a), the parties may expedite entry of judgment by filing a joint notice
renouncing their right to seek review.
                                                   2
